CaSe:lS-lOQS?-SDB DOC#229 Filed:OZ/lZ/J_Q Entered202/12/1911255226 Page:10f4

Fi|l in this information to identify your casl__'-:
Debtor1 Beveriy L. M|tchei|

First Name Middle Name Last Name

Debtor 2
(Spouse if. filing}

 

First Name Middle Name Last Name

SOUTHERN DlSTR|CT OF GEORG|A

United States Bankruptcy Court for the:

Case number 18-10937

(if knowrl)

 

|:| Check if this is an
amended filing

 

 

Official Form 108
Statement of intention for individuals Fi|ing Under Chapter 7 ms

if you are an individual filing under chapter 7, you must fill out this form lf:
- creditors have claims secured by your property, or

. you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier. unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

if two married people are filing together in a joint case, both are equally responsible for supplying correct lnforrnation. Both debtors must
sign and date the torm.

Be as complete and accurate as possible. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Credi\‘.ors Who Have Secured Claims

1. For any creditors that you listed in Fart 1 ot Schedu|e D: Credltors Who I~lave C|aims Secured by Property (Ott'lcial Form 1060}, fill in the

information below.
identify the creditor and the property that is collateral

What do you intend to do with the property that

 

 

Did you claim the property

secures a debt? as exempt on Schedule C?

CreditOI‘S Credlt Centra|, |nc. SC 20 El Surrender the property. |:| No
name: I:l Retain the property and redeem it.

_ _ l:l Retain the property and enter into a - \'es
DESCrleIOr\ Of 3 TVs, laptop, grllis, mower, Reamrmation Agreemeni.
property weedeater - Retain the property and [explain]:
securing debt: avoid lien using 11 U.S.C. § 522(f)
CredifOr'S De|ta Finance l:l Surrender the property. E No
name: i:l Retain the property and redeem it.

_ _ i:i Retain the property and enter into a l Yes
Descnptlon of 3 TVs, laptop, gri||s, mower, Reati‘r'nnation Agreemenr.
P'°Pel`ty Weedeater - Retain the property and [explain]:
securing debt: avoid lien usinL‘H U.S.C. § 522(f)
Cl'editol"$ Delta Finance l:l Surrender the property. l:l NO
name: L'l Retain the property and redeem it.

_ _ l:l Retain the property and enter into a - Yes
Descrlpflon Of 3 TVs, laptop, grillsl mower, Reamrmarion Agreement.
P'°Pe"ty W°edeate" - Retain the property and [explain]:

Ofiicial Form 108 Statement of intention for individuals Fi|ing Under Chapter 7 page 1
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DSb'fOr 1 Beveriy L. Mitche|| Ca$e number (lfkmwn) 18-10937
securing debt: avoid lien using 11 U.S.C. § 522(f)
Cred`nJOr'S Mid|and Mortgage Co. l:i Surrender the property. l:i No
name: l:l Retain the property and redeem it.
_ _ i:l Retain the property and enter into a . Yes
DSSC"PfIOn Of 2207 Sagemont Court Augusta, Reamnnation Agreemeni_
property GA 30906 Richm°l'ld county . Retain the property and [exp|ain]:

securing debt Valuation is co. tax appr. am't,
$84,668, less 10% hypo selling

 

 

 

costs Maintain Regular installment Payments

CreditOr'S Republic Finance, LLC l:l Surrender the property. l:l N0
name: i:l Retain the property and redeem it.

l:l Retain the property and enter into a - Yes
Descl'ipfi°l'l °f 3 TVS, |aPt°Pr grill$r mOW€l'r Reai‘i‘innation Agreemeni.
P"°Pe'ty Weedeater - Retain the property and [exp|ain]:
securing debt: avoid lien using_11 U.S.C. § 522(f)
Credit°r'$ Securlty Finance SFC l:i Surrender the property. L_-l NO
name: l:l Retain the property and redeem it.

l:l Retain the property and enter into a - Yes
DeSGl’iniOn Of 3 TVS. laptop, grill$, mower, Rea#innai‘ion Agreement.
P"°Perty Weedeat°r . Retain the property and [exp|ain]:
securing debt: avoid lien using 11 U.S.C. § 522(f)
creditors south state Bank l surrender the property. ':' N°
name: l:l Retain the property and redeem it.

l:i Retain the property and enter into a . Yes
DeSCl`iPti°n Of 06 GMC Envoy 144K miles Reaii'in'nation Agreemeni.
properly El Retain the property and [explain]:
secuan debt:
Creditor's SRP Federa| Credit Union El Surrender the property. |:| No
name: l:l Retain the property and redeem it.

l:l Retain the property and enter into a - Yes
DeS¢\’iniOn Of 2207 Sagemont Court Augusta, Reaii‘irmetion Agreement.
property GA 30906 Rlchmond County - Retain the property and [exp|ain]:

Securing debt Valuation is co. tax appr. am't,

$84,668, less 10% hypo selling

 

costs Maintain Regu|ar installment Payments
CredifOF'S TD Auto Finance El Surrender the property. |:l No
name: l:l Retain the property and redeem it.
_ _ l Retain the property and enter into a - Yes
DeSC"PfIOn Of 018 Jeep Grand Cherokee 15K Rsammation Agmemem_
P|`OP€l'fy m"°s l:l Retain the property and [exp|ain]:
securing debt:
Of|‘icia| Form 108 Statement of intention for individuals Fi|ing Under Chapter 7 page 2

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Debtor 1 Bever|y L. Mitchell Case number (rtmwn; 18-10937
CreditOr'S Westem Finance El Surrender the property. El NO
name: I:I Retain the property and redeem it.

l:l Retain the property and enter into a - Yes
Description 01 3 TVS, laptop, grills, mower, Reati'r'rmation Agreemeni.
Property Weedeater - Retain the property and [expiain]:
securing debt: avoid lien using_‘l1 U.S.C. § 522(f)
Crediwa Wor|d Fin. ` l:i Surrender the property. n NO
name: l:l Retain the property and redeem it.

l:l Retain the property and enter into a - Yes
Description of 3 TVs, laptop. gril|s, mower, Reaii‘irmericn Agreemenr.
Property Weedeater - Retain the property and [exp|ain]:
securing debt: avoid lien using 11 U.S.C. §§2(1‘)

 

 

 

List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed In Schedule G: Executory Contracts and Unexpired Leases (Otl'icial Form 1066), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume lt. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Wi|i the lease be assumed?

i.essor's name: |'_'| No

Description of leased

Property: n Yes

Lessor's name: n No

Description of leased

Property: l:l ‘(es

Lessor's name: n No

Description of leased

Property: cl yes

Lessor's name: l:l No

Description of leased

Property: n Yes

Lessor's name: l:i No

Description of leased

Property: l:l ‘(es

Lessor's name: i:l No

Description of leased

Property: n yes

Lessor's name: l:l No

Description of leased

Property: n Yes
Si n Be|ow

 

Under penalty of perlury. | declare that l have indicated my intention about any property of my estate that secures a debt and any personal

      

 

 

propert at is subject an unexpired lease.
x 57 `7/'/. x
V Signature of Debtor 2
Ofiicia| Form 108 Statement of intention for individuals Fi|ing Under Chapter 7 page 3

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Debef‘l Beverly L. Mltchell Case number trkmwn) 18.10937
Signature of Debtor 1
Date February 12, 2019 Date
Ofiicia| Form 108 Statement of intention for individuals Fi|ing Under Chapter 7 page 4

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